Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 1 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 2 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 3 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 4 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 5 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 6 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 7 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 8 of 10
Case 19-44073   Doc 5   Filed 06/28/19     Entered 06/28/19 14:33:24   Main Document
                                         Pg 9 of 10
Case 19-44073   Doc 5   Filed 06/28/19 Entered 06/28/19 14:33:24   Main Document
                                      Pg 10 of 10
